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               Appendix 3
   Declaration of Professor Geoffrey Miller



In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)



     Plaintiffs’ Motion for Final Approval of Settlement
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                                    Appendix 1: Resume

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New York, New York 10012
 (212) 998-6329 (office)
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                                      Work Experience

New York University Law School (1995-present)
 Stuyvesant P. Comfort Professor of Law
 Co-Director, Program in Corporate Compliance and Enforcement (2014-2017)
 Senior Faculty Fellow, Program in Corporate Compliance and Enforcement
    (2017-present)
 Faculty Co-Director, Center on Civil Justice at NYU Law School (2015-present)
 Faculty Director, NYU Center for Financial Institutions (1994-present)
 Co-Director, NYU Center for Law, Economics and Organization (2006-2012)
 Chair, Academic Personnel Committee (1999-2000; 2004-2006)
 Chair, Promotions and Tenure Committee (2007-2009; 2018-2019)

University of Chicago Law School (1983-1995)
 Kirkland & Ellis Professor (1989-1995)
 Editor, Journal of Legal Studies (1989-1995)
 Director, Program in Law and Economics (1994-1995)
 Director, Legal Theory Workshop (1989-1993)
 Associate Dean (1987-1989)
 Professor of Law (1987-1989)
 Assistant Professor of Law (1983-1987)

Distinguished Visiting Professor, Vanderbilt Law School, 2014
Visiting Professor, University of Frankfurt, Summer 2013
Faculty Member, Study Center Gerzensee, Switzerland, Spring 2012, Summer 2016
Visiting Lecturer, University of Genoa Department of Law, 2011
Visiting Lecturer, Collegio Carlo Alberto (Moncalieri, Italy), 2011, 2013
Visiting Scholar, European University Institute, Florence, Italy, Fall/Winter 2010


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Visiting Chair on Private Actors and Globalisation, Hague Institute for the Internationalisation of
   Law, Fall/Winter 2010
Robert B. and Candace J. Haas Visiting Professor of Law, Harvard Law School,
   Fall 2009
Max Schmidheiny Guest Professor, University of St. Gallen, Switzerland
   Summer 2009
Faculty Member, NYU-NUS in Singapore, 2009, 2011, 2013
Fresco Endowed Professor of Law, University of Genoa, Italy, Summer 2008,
   Spring 2009, Summer 2010
Visiting Scholar, University of Minnesota Law School, Spring 2008
Visiting Lecturer, University of Bolzano, Italy, Summer 2007
Commerzbank Visiting Professor, Institute for Law & Finance, University of Frankfurt,
   Germany, Summer 2004, Summer 2005, Summer 2010
Visiting Professor, Columbia Law School, Fall 2001
Visiting Professor, University of Sydney, Australia, Summer 2002; Summer 2006;
   Spring 2009
Zaeslin Visiting Professor, University of Basel, Switzerland, Summers 2001-2019
Visiting Scholar, CentER for Economic Research, Tilburg, Holland, Summer 1996
John M. Olin Visiting Scholar, Cornell University Law School, Summer 1992,
        Spring 1996; Winter 1997, Summer 2005, Spring 2008, Spring 2009, Spring 2010
Visiting Scholar, Bank of Japan, Spring 1995
Visiting Professor, New York University Law School, Fall 1994
Consultant, Federal Reserve Bank of Chicago, 1992-1994
Visiting Scholar, New York University Law School, Fall 1993
Simpson Grierson Butler White Visiting Professor, University of Aukland,
   New Zealand, Summer 1993

Associate, Ennis, Friedman, Bersoff & Ewing
Washington, D.C. (1982-83)

Attorney Adviser, Office of Legal Counsel
U.S. Department of Justice (1980-82)

Clerk, Hon. Byron R. White
Supreme Court of the United States (1979-80)

Clerk, Hon. Carl McGowan
U.S. Court of Appeals, District of Columbia (1978-79)

                              Scholarly and Law Reform Activities


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Member, American Law Institute (elected 2015)

American Law Institute, Reporter, Principles of the Law, Compliance, Enforcement, and Risk
      Management for Corporations, Nonprofits, and Other Organizations (2014-present)

Fellow, American Academy of Arts and Sciences (elected 2011)

Society for Empirical Legal Studies
       Fellow (2014-present)
       Co-Founder and Co-President (2006-2007)
       Board Member (2006-2014)

                                      Corporate Service

Member of the Board of Directors, State Farm Bank (2010-present) – board and committee
  service for midsize bank with $16 billion in assets. Audit Committee Chair (2015-present)

                                          Education

Columbia Law School, J.D. (1978)
Editor-in-Chief, Columbia Law Review (1977-78)
Princeton University, A.B. magna cum laude (1973)

                                         Publications

                                            Books

The Economics of Securities Law I (editor) (Edward Elgar 2016)

The Economics of Securities Law II (editor) (Edward Elgar 2016)

The Economics of Financial Law I (editor) (Edward Elgar 2016)

The Economics of Financial Law II (editor) (Edward Elgar 2016)

Banking Law and Regulation, Little, Brown & Co. 1992 (with Jonathan R. Macey); Second
Edition, Aspen Law & Business 1997 (with Jonathan R. Macey), Third Edition, Aspen Law &
Business 2001 (with Jonathan R. Macey and Richard Scott Carnell); Fourth Edition, Aspen Law
& Business 2008 (with Richard Scott Carnell and Jonathan R. Macey), under title “The Law of
Banking and Financial Institutions); Fifth Edition (with Richard Scott Carnell and Jonathan R.
Macey), under title “The Law of Financial Institutions, Wolters Kluwer Law & Business (2013)
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[translated into Chinese, The Commercial Press, 2016]; Sixth Edition, under title “The Law of
Financial Institutions,” Wolters Kluwer Law & Business (2017)

Banking Law and Regulation: Statutory and Case Supplement (Little, Brown & Co. 1992;
Second Edition, Aspen Law & Business, 1997) (with Jonathan R. Macey), Third Edition, Aspen
Law & Business, 2000) (with Jonathan R. Macey and Richard Scott Carnell); Fourth Edition,
Aspen Law & Business 2008 (with Richard Scott Carnell and Jonathan Macey)

Banking Law and Regulation: Teacher’s Manual (1992; Second Edition 1997; Third Edition
2001, Fourth Edition 2008) (with Jonathan R. Macey and Richard Scott Carnell)

The Law of Governance, Risk Management and Compliance (Wolters Kluwer Law and Business
2014); Second Edition 2017, Third Edition 2020.

The Law of Governance, Risk Management and Compliance Teachers Manual (Wolters Kluwer
Law and Business, 2014; Second Edition 2017, Third Edition 2020.

The Governance of International Banking (co-authored with Fabrizio Cafaggi, with Tiago
Andreotti, Maciej Borowicz, Agnieszka Janczuk, Eugenia Macchiavello and Paolo Saguato)
(Edward Elgar 2013)

Ways of a King: Legal and Political Ideas in the Bible (Vandenhoeck & Ruprecht 2011)

Trust, Risk, and Moral Hazard in Financial Markets (Il Mulino 2011)

The Origins of the Necessary and Proper Clause (with Gary Lawson, Robert Natelson, and Guy
Seidman) (Cambridge University Press 2010)

The Economics of Ancient Law (editor) (Edward Elgar 2010)

Bank Mergers and Acquisitions (editor, with Yakov Amihud) (Kluwer Academic Publishers
1998)

La Banca Central en América Latina: Aspectos Económicos y Juridicos [Central Banks in Latin
America and Their New Legal Structure] (in Spanish) (editor, with Ernesto Aguirre and Roberto
Junguito Bonnet) (Tercer Mundo: Bogotá 1997)

Costly Policies: State Regulation and Antitrust Exemption in Insurance Markets (AEI Press
1993) (with Jonathan R. Macey)

                                            Articles


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Attorneys’ Fees in Class Actions: 2009-2013, 92 NYU Law Review 937 (With Theodore
Eisenberg and Roy Germano)

A New Procedure for State Court Personal Jurisdiction (manuscript on file with the author)

An Information-Forcing Approach to the Motion to Dismiss, 5 Journal of Legal Analysis 437-
465 (2014) (with Samuel Issacharoff)

In Search of the Most Adequate Forum: State Court Personal Jurisdiction, 2 Stanford Journal of
Complex Litigation 1 (2014)

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Klausner and Richard Painter)

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                             Corporate, Contract and Securities Law

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Review 319 (2010)

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Economics 80-93 (2011)

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Large Commercial Contracts, 30 Cardozo Law Review 1475 (2009) (with Theodore Eisenberg)

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59 Vanderbilt Law Review 1975 (2006) (with Theodore Eisenberg)

Catastrophic Failures: Enron and Beyond, 89 Cornell Law Review 423-455 (2004)

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and Public Policy 1 (2001-2002)

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Chicago Lectures in Law and Economics 65-81 (2000)

Takeovers: English and American, 6 European Financial Management 533-542 (2000)

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Freedom of Contract 357-69 (Duke University Press 1998)

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50th Annual Conference on Labor (Kluwer Academic Press, 1998)

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U.K., 1998 Columbia Business Law Review 51-78 (1998), reprinted in Sloan Project on
Corporate Governance at Columbia Law School, Corporate Governance Today 629-648 (1998)

Finance and the Firm, 152 Journal of Institutional and Theoretical Economics [Zeitschrift fur die
Gesamte Staatswissenschaft] 89-107 (1996)

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Japan and the United States, 48 Stanford Law Review 73 (1995) (with Jonathan R. Macey)




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Comment on "Brokerage, Market Fragmentation, and Securities Market Regulation," in Andrew
W. Lo, ed., The Industrial Organization and Regulation of the Securities Industry, University of
Chicago Press (1996)

Corporate Stakeholders: A Contractual Perspective, 43 University of Toronto Law Review 401
(1993) (with Jonathan R. Macey)

The Culture of Capital: Comments on Conley and O'Barr, 71 North Carolina Law Review 201
(1992)

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Law Quarterly 399 (1992)

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Methodology in Extending the Reach of Basic v. Levinson, 77 Virginia Law Review 1015
(1991) (with Jonathan R. Macey, Jeffrey Netter, and Mark Mitchell)

The Fraud on the Market System Revisited, 77 Virginia Law Review 999 (1991) (with Jonathan
R. Macey)

Politics, Bureaucracies, and Financial Markets: Bank Entry into Commercial Paper Underwriting
in the United States and Japan, 139 University of Pennsylvania Law Review 369-453 (1990)
(with David Litt, Jonathan R. Macey, and Edward L. Rubin)

Good Finance, Bad Economics: An Analysis of the Fraud on the Market Theory, 42 Stanford
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Trans-Union Reconsidered, 98 Yale Law Journal 127 (1988)(with Jonathan R. Macey)

Toward an Interest Group Theory of Delaware Corporate Law, 65 Texas Law Review 469
(1987) (with Jonathan R. Macey)

                                      Constitutional Law

Confederacy, in Encyclopedia of Political Thought 661-62 (Wiley-Blackwell: 2014)

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56 Law and Contemporary Problems 35 (1993)




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Law & Public Policy 87 (1993)

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Washington Law Review 401 (1989)

Rediscovering Economic Liberties, 41 Rutgers Law Review 773 (1989) (panel)

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(1988) (panel)

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Journal 215 (1988)

Independent Agencies, 1986 Supreme Court Review 41 (1986)

                              Compliance and Risk Management

Financial Private Regulation and Enforcement, in Fabrizio Cafaggi, ed., Enforcement of
Transnational Regulation: Ensuring Compliance in a Global World, pp. 263-278 (Edward Elgar
2012)

Risk Management and Compliance in Banks: The United States and Europe, in Danny Busch
and Guido Ferrarini, eds., The European Banking Union (Oxford University Press, 2017)

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Handbook on Corporate Crime and Financial Misdealing (Edward Elgar, 2017)

                                      Financial Institutions

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Rosenberg)

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Law (Oxford University Press India 2008) (with Michael Barr)

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Macey)

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and Bilin Neyapti)

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America and Their New Legal Structure], Ernesto Aguirre, Roberto Junguito Bonnet, and
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El Papel del Banco Central en una Economia Especulativa [The Role of a Central Bank in a
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Assets and Liabilities, 12 Yale Journal on Regulation 1-50 (1995)(with Jonathan R. Macey),
reprinted as L’Assurance Des Depots, Le Contrat Reglementaire Implicite, et la Destruction des
Eschances des Actifs et Passifs Bancaires, 6 Journal des Economistes et des Etudes Humaines
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933 (1993) (with Jonathan R. Macey)

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Proceedings of a Conference on Bank Structure and Competition 473 (1993) and 1 University of
Chicago Law School Roundtable 129 (1994), republished as "Políticas de Reforma de Seguro de
Depósito. El Caso de la Argentina," in Revista de Derecho Bancario y de la Actividad
Financiera, Año 4, Enero-diciembre 1994, No. 19/24, at 221-239 (1995) (Argentine journal)

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Case from the Perspective of Bank Regulatory Policy, 66 University of Southern California Law
Review 1115 (1993) (with Jonathan R. Macey)

Constitutional Moments, Pre-commitment, and Fundamental Reform: The Case of Argentina, 71
Washington University Law Quarterly 1061 (1993)

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The Community Reinvestment Act: An Economic Analysis, 79 Virginia Law Review 291 (1993)
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The McCarran-Ferguson Act: A Case Study of Regulatory Federalism, 68 New York University
Law Review 13 (1993), republished in 7 National Insurance Law Review 521 (1995)(with
Jonathan R. Macey)(study prepared originally under the auspices of the American Enterprise
Institute’s Project on Federalism)

Bank Failure: The Politicization of a Social Problem, 45 Stanford Law Review 289 (1992) (with
Jonathan R. Macey)

Toward Enhanced Consumer Choice in Banking: Uninsured Depository Facilities as Financial
Intermediaries for the 1990s, 1991 N.Y.U. Annual Survey of American Law 865 (1992) (with
Jonathan R. Macey)

Nondeposit Deposits and the Future of Bank Regulation, 91 Michigan Law Review 237-
273(1992) (with Jonathan R. Macey)

America's Banking System: The Origins and Future of the Current Crisis, 69 Washington
University Law Quarterly 769 (1991) (with Jonathan R. Macey)

Bank Failures, Risk Monitoring, and the Market for Corporate Control (with Jonathan R.
Macey), 88 Columbia Law Review 1153 (1988) (study conducted under the auspices of the
Administrative Conference of the United States)


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Public Policy Implications of Legislation Limiting the Growth of Interstate Banks, Federal
Reserve Bank of Chicago, Proceedings of a Conference on Bank Structure and Competition 602
(1986)

Interstate Branching and the Constitution, 41 Business Lawyer 337 (1986)

Interstate Banking in the Court, 1985 Supreme Court Review 179 (1985)

                                          Legal History

The Corporate Law Origins of the Necessary and Proper Clause, 79 George Washington
University Law Review 1 (2010)

Meinhard v. Salmon, in Jonathan R. Macey, ed., Corporate Law Stories (2008)

The Industrial Organization of Political Production: A Case Study, 149 Journal of Institutional
and Theoretical Economics [Zeitschrift fur die gesamte Staatswissenschaft] 769 (1993)

Comments on Priest, 36 Journal of Law and Economics 325 (1993)

Toward "Neutral Principles" in the Law: Selections from the Oral History of Herbert Wechsler,
93 Columbia Law Review 854 (1993) (with Norman Silber)

Double Liability of Bank Shareholders: History and Implications, 27 Wake Forest Law Review
31 (1992) (with Jonathan R. Macey)

Origin of the Blue Sky Laws, 70 Texas Law Review 347 (1991) (with Jonathan R. Macey),
reprinted in 34 Corporate Practice Commentator 223 (1992)

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California Law Review 83 (1989)

The True Story of Carolene Products, 1987 Supreme Court Review 397 (1987), reprinted in
Michael J. Glennon, et al., eds., Constitutional Law Anthology (Anderson Publishing 1997), pp.
94-103; reprinted in J. Ely, Property Rights in American History: Reform and Regulation of
Property Rights (Garland Publishing 1997), pp. 165-197.



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Interviewer, Columbia University Oral History Collection, Life of Herbert Wechsler (1980-
1982) (with Norman Silber)

                                        Jurisprudence

Empirical Analysis of Legal Theory: In Honor of Theodore Eisenberg, 171 Journal of
Institutional and Theoretical Economics 6-18 (2015)

Law and Economics versus Economic Analysis of Law, 19 American Bankruptcy Institute Law
Review 459 (2011)

The Case of the Speluncean Explorers: Contemporary Proceedings, 61 George Washington Law
Review 1798 (1993)

The End of History and the New World Order: The Triumph of Capitalism and the Competition
Between Liberalism and Democracy, 25 Cornell International Law Journal 277 (1992) (with
Jonathan R. Macey)

The Canons of Statutory Construction and Judicial Preferences, 45 Vanderbilt Law Review 647
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Pragmatics and the Maxims of Interpretation, 1990 Wisconsin Law Review 1179 (1990)

Economic Efficiency and the Lockean Proviso, 10 Harvard Journal of Law and Public Policy
401 (1987)

                                        Ancient Law

The Kingdom of God in Samuel, in Diana Edelman and Ehud Ben Zvi, Leadership, Social
Memory, and Judean Discourse in the 5th–2nd Centuries BCE, pp. 77-87 (Worlds of the Ancient
Near East and Mediterranean Series: Equinox Press (2016)

Property Law, in II Oxford Encyclopedia of the Bible and Law, pp. 175-182 (Oxford University
Press: 2015)

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Press: 2015)

The Political Function of Revelation: Lessons from the Hebrew Bible, 30 Touro Law Review 77
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Logos and Narrative, NYU School of Law, Public Law Research Paper No. 10-78 (2010)

Monarchy in the Hebrew Bible, NYU School of Law, Public Law Research Paper No. 10-76
(2010)

Nationhood and Law in the Hebrew Bible, NYU School of Law, Public Law Research Paper No.
10-57 (2010)

Revelation and Legitimacy in the Hebrew Bible, NYU School of Law, Public Law Research
Paper No. 10-52 (2010)

The Book of Judges: The Hebrew Bible’s Federalist Papers, NYU School of Law, Public Law
Research Paper No. 10-66 (2010)

Consent of the Governed in the Hebrew Bible, NYU School of Law, Public Law Research Paper
No. 10-56 (2010)

Nomadism, Dependency, Slavery and Nationhood: Comparative Politics in the Book of Exodus,
NYU School of Law, Public Law Research Paper No. 10-49 (2010)

Economics of Ancient Law, in Geoffrey P. Miller, ed., The Economics of Ancient Law (Edward
Elgar, 2016)

Patriarchy: The Political Theory of Family Authority in the Book of Genesis (manuscript 2010)

The Dark Age: How the Biblical Narratives Demonstrate the Necessity for Law and
Government (NYU School of Law, Public Law Research Paper No. 10-18)

Origin of Obligation: Genesis 2:4b-3:24 (NYU School of Law, Public Law Research Paper No.
09-60)

Sovereignty and Conquest in the Hebrew Bible, NYU School of Law, Public Law Research
Paper No. 10-61 (2010)

Golden Calves, Stone Tablets, and Fundamental Law: A Political Interpretation of Exodus 32
(NYU School of Law, Public Law Research Paper No. 10-02)

A Riposte Form in the Song of Deborah, in Tikva Frymer-Kensky, Bernard Levinson and Victor
Matthews, eds., Gender and Law in the Hebrew Bible and the Ancient Near East 113-27 (1998)


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Foreword: The Development of Ancient Near Eastern Law, 70 Chicago-Kent Law Review 1623
(1996)

Why Ancient Law?, 70 Chicago-Kent Law Review 1465 (1995)(with James Lindgrin and
Laurent Mayali)

Foreword: Land Law in Ancient Times, 71 Chicago-Kent Law Review 233 (1996)

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Theoretical Economics [Zeitschrift fur die gesamte Staatswissenschaft] 755 (1994)

J as Constitutionalist: A Legal-Economic Interpretation of Exodus 17:8-16 and Related Texts, 70
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Verbal Feud in the Hebrew Bible: Judges 3:12-30 and 19-21, 55 Journal of Near Eastern Studies
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Contracts of Genesis, 22 Journal of Legal Studies 15-45 (1993), reprinted in Beth Kissileff, ed.,
Reading Genesis Beginnings (Bloomsbury T&T Clark 2016).

Ritual and Regulation: A Legal-Economic Analysis of Selected Biblical Texts, 22 Journal of
Legal Studies 477 (1993)

                                        Law and Society

Parental Bonding and the Design of Child Support Obligations, in William S. Comanor, ed., The
Law and Economics of Child Support Payments 210-240 (Edward Elgar 2004)

The Legal Function of Ritual, 80 Chicago-Kent Law Review 1181 (2005)

Handicapped Parking, 29 Hofstra Law Review 81 (2000) (with Lori S. Singer)

Custody and Couvade: The Importance of Paternal Bonding in the Law of Family Relations, 33
Indiana Law Review 691 (2000)

Norm Enforcement in the Public Sphere: The Case of Handicapped Parking, 71 George
Washington Law Review 895-933 (2004)
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Norms and Interests, 32 Hofstra Law Review 637 (2003)

Female Genital Mutilation: A Cultural-Legal Analysis (manuscript)

Circumcision: A Legal-Cultural Analysis, 9 Virginia Journal of Social Policy and the Law 498-
585 (2002), pre-published as New York University Public Law and Legal Theory Working Paper
Series, Working Paper 5 (2000)

Law, Pollution, and the Management of Social Anxiety, 7 Michigan Women’s Law Journal 221-
289 (2001)

                                            Other:

Richard Posner, 61 N.Y.U. Annual Survey of American Law 13 (2004)

Introduction: The Law and Economics of Risk, 19 Journal of Legal Studies 531 (1990) (with
Richard A. Epstein)

Law School Curriculum: A Reply to Kennedy, 14 Seton Hall Law Review 1077 (1984) (under
pen name of Chris Langdell)

                                        Book Reviews

Defusing the Banks’ Financial Time Bomb, BusinessWeek (Mar. 11, 2010) (review of Robert
Pozen, Too Big to Save? How to Fix the U.S. Financial System

Love & Joy: Law, Language and Religion in Ancient Israel, by Yochanan Muffs, 58 Journal of
Near Eastern Studies 144-45 (1999)

Jesus and the Jews: The Pharisaic Tradition in John; The Trial Of Jesus; Jesus And The Law, by
Alan Watson, 1 Edinburgh Law Review 273 (1997)

No Contest: Corporate Lawyers and the Perversion of Justice in America, by Ralph Nader and
Wesley J. Smith, Washington Post (October 13, 1996)

The Rise and Fall of the Classical Corporation: Hovenkamp's Enterprise and American Law:
1836-1937, 59 University of Chicago Law Review 1677 (1993)

Property Rights and the Constitution: A Review of James W. Ely, Jr.'s The Guardian of Every
Other Right, 37 American Journal of Legal History 378 (1993)

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Anatomy of A Disaster: Why Bank Regulation Failed, 86 Northwestern University Law Review
742 (1992)

The Glittering Eye of Law, 84 Michigan Law Review 1901 (1986)

A Rhetoric of Law, 52 University of Chicago Law Review 247 (1985)

                                       Major Lectures

Revelation as a Source of Legal Authority (Keynote Address, Conference on Religious Liberty,
Touro Law School 2013)

Trust, Risk, and Moral Hazard in Financial Markets (University of Genoa, Fresco Chair Lectures
in Law and Finance, June 2010)

A Simple Theory of Takeover Regulation in the United States and Europe; Intellectual Hazard
(Commerzebank Lectures, University of Frankfurt, May 2010)

The European Union’s Takeover Directive and Its Implementation in Italy (University of Rome
III, 2008)

Catastrophic Financial Failures: Enron, HIH and More (Ross Parsons Lecture, Sydney, Australia,
2002)

Das Kapital: Solvency Regulation of the American Business Enterprise (Coase Lecture,
University of Chicago Law School, 1993)

Banking in the Theory of Finance; The Simple Economics of Litigation and Settlement; The
Economic Structure of Corporation Law (University of Auckland, New Zealand, 1993)

                                   Journal Referee Reports

American Law and Economics Review
Journal of Legal Studies
Journal of Law, Economics and Organization
Review of Law and Economics

                                   Conferences Organized



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Law and Banking Conference 2019 (Paris), 2018 (New York), 2017 (Bad Homburgm, co-
sponsored with University of Frankfurt); 2016 (New York); 2015 (Zurich); 2014 (New York);
2013 (Zurich); 2012 (New York); 2011 (Florence)

Achieving and Responsible Enterprise: Principles of Effective Compliance and Enforcement
(May 8, 2015)

Global Economic Policy Forum, New York 2013 (keynote speakers included Federal Reserve
Bank of New York President William Dudley and former Governor of the Bank of England
Baron King of Lothbury); New York 2008 (keynote speaker was Jean-Claude Trichet, Chairman
of the European Central Bank); 2007 (keynote speaker was Ben Bernanke, Chairman of the
Board of Governors of the Federal Reserve)

The Good Bank Debate (New York 2013) (co-sponsored with Mazars)

Judicial Dialogue on Mass Litigation, Florence Italy, October 15-16, 2010 (co-organizer of
conference co-sponsored by NYU Law School, the American Law Institute, and the European
University Institute)

Finlawmetrics 2010: Central Banking, Regulation & Supervision after the Financial Crisis (co-
sponsor and member of steering committee)

Finlawmetrics 2009: After The Big Bang: Reshaping Central Banking, Regulation and
Supervision (Milan, Italy, Spring 2009) (co-sponsor and member of steering committee)

NYU Global Economic Policy Forum 2009: The Future of Regulation and Capital Markets
(November 5, 2009) (co-organized with Professor Alan Rechtschaffen and with the NYU Law
School Alumni Association)

Third Annual Conference on Empirical Legal Studies (Cornell University, Ithaca, New York,
Fall 2008) (co-organizer)

Second Annual Conference on Empirical Legal Studies (New York, New York, November 10-
11, 2007). Major conference (425 participants) exploring all aspects of the empirical study of
law. Co-organized with Jennifer Arlen, Bernard Black, Theodore Eisenberg and Michael Heise.

First Annual Conference on Empirical Legal Studies (Austin, Texas, October 2006). Major
conference exploring all aspects of the empirical study of law. Co-organized with Jennifer
Arlen, Bernard Black, Theodore Eisenberg and Michael Heise.



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Conference on Legal Aspects of the International Activities of Central Banks, Lima Peru,
October 1997. This conference, co-sponsored by the central bank of Peru, brought together
leaders in the legal and economic issues facing central banks in the management of their external
reserves.

Conference on the Governance of Institutional Investors (New York, New York, February 14,
1997). This conference, sponsored by the NYU Stern School of Business Salomon Center in
association with the New York University Law School Center for the Study of Central Banks,
brought together top executives, attorneys, scholars and others interested in the management and
organization, both economic and legal, of the nation's large institutional investors, including its
mutual fund industry.

Conference on Bank Mergers and Acquisitions (New York, New York, October 11, 1996). This
conference, sponsored by the NYU Stern School of Business Salomon Center in association with
the New York University Law School's Center for the Study of Central Banks, brought together
leading academics, lawyers, and investment bankers to discuss some of the broader implications
of bank mergers and acquisitions. Co-organizer of this conference was Professor Yakov Amihud
of the Stern School's Finance Department.

Conference in Central Banks in Latin America (Bogota, Colombia, February, 1996). This
conference, co-sponsored by the central bank of Colombia with technical assistance from the
Legal Affairs Department of the International Monetary Fund, brought together leaders of Latin
American central banks, the international financial community, and scholars from a variety of
disciplines, to discuss issues related to the independence of central banks and economic
development.

Conference on Central Banks in Asia (Shanghai, China, October, 1995). This conference, co-
sponsored with KPMG-Peat Marwick, brought together leaders from commercial banks,
investment banks, and industrial firms, as well as central bankers, to discuss Asian central banks
to address issues such as the proposed law granting a degree of independence to the central bank
of China.

Conference on Ancient Law (Berkeley, California, March 1995). This conference, organized
with Professors James Lindgren of Chicago-Kent Law School and Laurent Mayali of the
University of California at Berkeley Law School, brought together important figures from a
variety of disciplines interested in Ancient Law.

Conference on Central Banks in Eastern Europe and the Newly Independent States (Chicago,
Illinois, April 1994). This conference brought together the Prime Minister of Estonia, three
present or former Ministers of Finance of Eastern European states (including Boris Fyoderov,


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former Finance Minister of the Russian Republic), the heads of the central banks of eleven
nations in Eastern Europe and the Newly Independent States, together with a wide variety of
highly-placed officials from these countries and from the west, to discuss issues related to the
independence of central banks and economic development.

                             Professional Memberships and Positions

New York State Bar
District of Columbia Bar
American Bar Association
American Law Institute (1988-1996; 2017-present)
Member, Paolo Baffi Centre Scientific Advisory Board, Milan, Italy (2008- 2016)
Member, International Academic Council, University of St. Gallen,
   Switzerland (2004-2016)
Chairman, Section on Business Associations, American Association of Law
   Schools (1995)
Member of the Board of Directors, American Law and Economics Association
   (1995-1998)
Member of the Foreign Advisory Committee, Latin American Law and
   Economics Association (1995-2000)
Member of the Foreign Advisory Board, Universitad Tocurato Di Tella School of Law,
    Buenos Aires, Argentina (1992-1999)
Member of the Editorial Board, Supreme Court Economic Review
Member of the Advisory Board, University of Hong Kong Faculty of Law Asian Institute
  of International Financial Law (2001-present)

                                             Courses

Governance, Risk and Compliance (Study Center Gerzensee, Switzerland 2016)
Law and Business of Bitcoin and Block Chain (2015; 2017; 2019) (with David Yermack)
Compliance and Risk Management for Attorneys (2014, 2015, 2017)
Legal Profession (1985-93; 1996-98; 2003-2007; 2013; 2019)
The Crisis of 2008 (2009, 2010)
Reading Class: Restructuring Finance (2009); Cutting Issues in Finance (2014-2015);
Reading Class: Law and Politics in Shakespeare (2015-2016; 2019)
Property (1986-87)
Corporations (1985-88; 1991-93; 1997-2000; 2005; 2008; 2012; 2014; 2016)
Seminar on Separation of Powers (1985, 1987)
Civil Procedure (1983-84; 2004-2005; 2011; 2013; 2016; 2018-2019)
Federal Regulation of Banking (1983, 1989-93; 1995-97; 2003, 2006-2010; 2012; 2015)
Law and Business of Banking (2012; with Gerald Rosenfeld)
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Land Development (1984-85)
Securities Law (1990-91)
Workshop in Legal Theory (1989-91)
Seminar on Financial Institutions (1992-93) (with Merton Miller)
Ethics in Class Action Practice (Continuing Legal Education Seminar 2002-2005)
Law and Economics (University of Basel, Switzerland 2005, 2007-2014)
Advanced Seminar on Law and Economics (University of Genoa, Italy 2008)
Banking and the Financial Crisis (University of Genoa, Italy 2009)
Trust, Risk, and Moral Hazard in Financial Markets (University of Genoa, Italy, 2010)
International Banking (University of Sydney, Australia, 2002, 2006)
Introduction to Banking Law (University of Basel, Switzerland 2001, 2002, 2003, 2004, 2009,
2010; 2011; 2012; 2013; 2014; 2015; 2016; 2017; 2018)
Banking in the Theory of Finance (University of Frankfurt, Germany 2004, 2005)
Banking Regulation in Crisis (University of Frankfurt, Germany, 2010)
Banking: Law and Economics Issues after the Financial Crisis (Study Center Gerzensee, 2012)

                          Expert Witness Testimony (past five years)

       Dyer v. Wells Fargo Bank, N.A., Case No. C-13 2858, Northern District of California
(2014) (declaration on fees)

       US. Foodservice Inc. Pricing Litigation, Case No. 3:07-md-1894, District of Connecticut
(2014) (declaration on fees)

        Kacsuta v. Lenovo (United States) Inc., Case No. SACV 13-00316-CJC, Central District
of California (2014) (declaration on fees)

       De Leon v. Bank of America, Case No. 6:09-cv-1251-Orl-JA KRS, Middle District of
Florida (2014) (declaration on fees)

      Chieftain Royalty Co. v. SM Energy Co., Case No. DIV-011-177-D (Western District of
Oklahoma 2015) (declaration on settlement and fees; declaration on remand)

        In re General Motors LLC Ignition Switch Litigation, No. 14-MD-2543 (Southern
District of New York 2016) (declaration on motion to dismiss lead counsel)

        In re General Motors LLC Ignition Switch Litigation, No. 14-MD-2543 (Southern
District of New York 2016) (declaration on confidentiality of case files)




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        In re Life Partners Holdings, Inc. No. 15-40289-RFN (Northern District of Texas 2016)
(declaration on fees)

      Rhea v. Apache Corporation, Case No. 6:14-cv-00433-FHS (Eastern District of
Oklahoma 2016) (declaration on class certification)

        Hooker v. Sirius XM Radio, Inc., No. 4:13-cv-00003 (Eastern District of Virginia 2016)
(declaration on fees and fairness of the settlement)

       Axiom Investment Advisors, LLC v. Barclays Bank PLC, Case No. 15-cv-9323-LGS
(Southern District of New York 2017) (declaration on fees)

       Marcus v. JC Penney Company, Inc., Civil Action No. 6:13-cv-00736-RWS-KNM
(Eastern District of Texas 2017) (declaration on fees)

       Thomas v. Wells Fargo Bank, Case No. 15-cv-03194 (Central District of California
2017) (declaration on fees)

       United States of America ex rel. Trakhter v. Provider Services, Inc., (Southern District of
Ohio 2017) (declaration on fees)

        White v. Experian Information Services, Inc. Case No. 05-CV-1070 2017) (declaration
on fairness of settlement and fees)

       In Re: Takata Airbag Products Liability Litigation, Case No. 1:15-md-02599-FAM
(Southern District of Florida 2017) (declaration on fees)

       Rierdon v. XTO Energy, Inc., No 6:16-cv-00087-KEW (Eastern District of Oklahoma
2017) (declaration and testimony on fees)

      In Re Cnova N.V. Securities Litigation, No. 16 CV 444-LTS (Southern District of New
York 2017) (declaration on fees)

        In Re: Syngenta Corn Litigation, MDL No. 2591 (District of Kansas 2018) (expert
reports on fees)

        Linneman V Vita-Mix Corporation, No. 1:15-Cv-748 (Southern District of Ohio 2018)
(declaration and deposition on fees)




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        Cockerell Oil Properties v. Unit Petroleum Co., No. 6:16-CV-00135-KEW (Eastern
District of Oklahoma 2019) (declaration on fees)

        Chieftain Oil Company v. Marathon Oil Company, No. CIV-17-334-SPS (Eastern
District of Oklahoma 2019) (declaration on fees)

                                       Other Activities

Fellow, Society for Empirical Legal Studies (2015-present)

Member, Board of Directors, American Law and Economics Association (1996-1999)

Member, Board of Advisors, The Independent Review (1996-present)

Member, Board of Advisors, Asian Institute of International Financial Law (2001-present)

Member, Editorial Advisory Board, Supreme Court Economic Review (1995-2001)

Member, Editorial Advisory Board, The Brookings-Wharton Papers on Financial Policy (1997-
present)

President, Section on Financial Institutions and Consumer Financial Services, American
Association of Law Schools (1999)

President, Section on Business Associations, American Association of Law Schools (1995)

Member, Board of Contributors, American Bar Association Preview of Supreme Court Cases
(1985-1993)

Consultant, Administrative Conference of the United States (1988-89; 1991-1992)

Board of Directors and Volunteer Listener, D.C. Hotline (1980-83)

                                           Awards

1992 Paul M. Bator Award for Excellence in Teaching, Scholarship and Public Service, from the
Federalist Society for Law and Public Policy Studies

Podell Distinguished Teaching Award (NYU Law School 2016)



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                                          Languages

Reading knowledge of Spanish, French, and Italian.

                                          Blog Posts

Whistleblowing in the Wind, Compliance and Enforcement (June 29, 2016)

Banking’s Cultural Revolution, Compliance and Enforcement (June 8, 2016)

Breach of Contract ≠ Fraud, Compliance and Enforcement (May 25, 2016)

Judges are not Potted Plants, Compliance and Enforcement (May 18, 2016)

Compliance Goes to School, Compliance and Enforcement (May 12, 2016)
CFPB Issues Proposed Consumer Arbitration Rule, Compliance and Enforcement (May 5, 2016)

FSOC Socked, Compliance and Enforcement (April 28, 2016)

Compliance and Risk Management: Area for Legal Teaching and Scholarship?, Harvard Law
School Forum on Corporate Governance and Financial Regulation (May 22, 2014)

                                        Shorter Works

Defusing The Banks’ Financial Time Bomb: Without Tough Reforms, Writes Robert Pozen,
We'll Probably Face An Ugly Repeat of Recent History (Business Week, March 11, 2010)

Why Interstate Banking is in the National Interest, Testimony Before the Subcommittee on
Financial Institutions Supervision, Regulation and Deposit Insurance of the House Committee on
Banking, Housing and Urban Affairs (September 29, 1993)

Challenging the Concept of the Common Law as a Closed System, Columbia Law School
Report, Autumn, 1993 (with Norman Silber)

The Insurance Industry's Antitrust Exemption: A Longstanding Tradition Faces its Greatest
Challenge, 1992-93 ABA Preview of Supreme Court Cases 198 (1993)

Shootout at the Escheat Corral, 1992-93 ABA Preview of Supreme Court Cases (1993)

Choices and Chances for Consumers, Legal Times, Oct. 12, 1992, at 29-30.


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Impeachment Procedures: An Unexplored Territory in the Separation of Powers, 1992-93 ABA
Preview of Supreme Court Cases 39 (1992)

An (Ex)changing of the Guard, 21 Journal of Legal Studies iii (1992)

Revisiting the Contingency Factor in Fee-Shifting Awards, 1991-92 ABA Preview of Supreme
Court Cases 327 (1992)

The Foreign Sovereign Immunities Act and the Market for Public International Debt, 1991-92
ABA Preview of Supreme Court Cases 307 (1992)

Return of the Tenth Amendment?: Federal Control and State Autonomy over Low Level
Radioactive Wastes, 1991-92 ABA Preview of Supreme Court Cases 284 (1992)

What are the Limits on Congressional Power to Influence Pending Cases?, 1991-92 ABA
Preview of Supreme Court Cases 158 (1991)

RICO Standing for Securities Fraud: Does the Purchaser-Seller Rule of Rule 10b-5 Apply?,
1991-92 ABA Preview of Supreme Court Cases 155 (1991)

Banking and Investment: Introduction to UPA Index and Microfiche Collection (University
Publications of America 1991)

Source of Strength in the Court: Can Bank Holding Companies be Required to Support Failing
Subsidiary Banks?, 1991-92 ABA Preview of Supreme Court Cases 42 (1991)

Source of Strength: A Source of Trouble, Legal Times, September 30, 1991 (Special
Supplement, pp. 22-25)

The Once and Future American Banking Industry, The American Enterprise (with Jonathan R.
Macey)(1991)

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